           Case 1:21-cv-00445-CJN Document 118-2 Filed 02/11/22 Page 1 of 2
                             Index of Exhibits to Rule 11 Motion

Ex. No.      Date    Description
   1                 Redline Complaint Comparison
                     Joint Statement from Elections Infrastructure Government Coordinating
                     Council & The Election Infrastructure Sector Coordinating Executive
  2       11/12/2020 Committees
  3        6/27/2021 Jonathan D. Karl, Inside William Barr’s Breakup with Trump , The Atlantic
                     Michael Balsamo, Disputing Trump, Barr Says No Widespread Election
  4       12/1/2020 Fraud , AP News
                     Matt Stiles, L.A.’s $300-Million Voting System Gets High Marks as Votes
  5       11/10/2020 Trickle in Across California , L.A. Times
                     Haley BeMiller, Cincinnati Area Chemist Takes Stage at Trump Rally to
  6       6/30/2021 Tout False Claims About 2020 Election , Cincinnati Enquirer
                     Philip Bump, How People Who Should Know Better Abuse Math to Bolster
  7       4/12/2021 the ‘Election Fraud’ Lie , Wash. Post
                     Clara Hendrickson, No, Michigan Didn’t Use an Algorithm to Manipulate
  8        4/16/2021 2020 Election Results , Politifact
                     Transcript of President Trump’s Not Going Anywhere. Mike Lindell with
                     Sebastian Gorka on AMERICA First, America First with Dr. Sebastian
  9        12/4/2020 Gorka
                     Craig Silverman, Jane Lytvynenko & Pranav Dixit, How “The Women for
  10       1/26/2021 America First” Bus Tour Led to the Capitol Coup Attempt , BuzzFeed News
  11      12/12/2020 Transcript of Women for America First Rally , C-SPAN
  12      12/12/2020 Transcript of Mike Lindell Opens the Jericho Marc h, Jericho March
                     Transcript of Mike Lindell Mentions Possible ‘Civil War’ During Pro-Trump
  13        1/5/2021 Rally at U.S. Capitol , YouTube
  14      11/29/2020 Mike Lindell (@realMikeLindell), Twitter (Nov. 29, 2020, 12:06 PM)
  15        1/6/2021 Screenshots of March to Save America Rally RSVP Website
                     Press Release, Select Committee Subpoenas Organizers of Rallies and
                     Events Preceding January 6th Insurrection , U.S. House Select Comm. to
  16       9/29/2021 Investigate the Jan. 6th Attack on the U.S. Capitol
                     Jim Rutenberg, Jo Becker, Eric Lipton, Maggie Haberman, Jonathan Martin,
                     Matthew Rosenberg & Michael S. Schmidt, 77 Days: Trump’s Campaign to
  17       1/31/2021 Subvert the Election , N.Y. Times
  18        2/5/2021 One America News (@OANN), Twitter (Feb. 5, 2021, 3:38 AM)
                     Transcript of Mike Lindell, Absolute Proof: Exposing Election Fraud and
  19        2/5/2021 the Theft of America by Enemies Foreign and Domestic
  20        2/5/2021 Screenshots of Absolute Proof
                     Transcript of Mike Lindell, Absolute Interference: The Sequel to Absolute
                     Proof with New Evidence Foreign and Domestic Enemies Used Computers
  21       4/22/2021 to Hack the 2020 Election
  22       4/22/2021 Screenshots of Absolute Interference
                     Transcript of Mike Lindell, Scientific Proof: Internationally Renowned
                     Physicist Absolutely Proves 2020 Election Was Biggest Cyber-Crime in
  23        4/3/2021 World History

                                                1
          Case 1:21-cv-00445-CJN Document 118-2 Filed 02/11/22 Page 2 of 2
                            Index of Exhibits to Rule 11 Motion

Ex. No.      Date     Description
  24       4/3/2021   Screenshots of Scientific Proof
  25      6/5/2021    Transcript of Mike Lindell, Absolutely 9-0
  26       6/5/2021   Screenshots of Mike Lindell, Absolutely 9-0
  27       2/5/2021   Transcript, Bannon’s War Room
  28       2/6/2021   Transcript, Bannon’s War Room
  29       2/8/2021   Transcript, OANN’s Real America with Dan Ball
  30      2/11/2021   Transcript, OANN Special with Steve Bannon
  31      2/24/2021   Transcript, The Pete Santilli Show
  32      3/26/2021   Transcript, Bannon’s War Room
  33      3/30/2021   Transcript, The Eric Metaxas Radio Show
  34       4/1/2021   Transcript, Indivisible with John Stubbins
  35       4/8/2021   Transcript, Greg Hunter's USA Watchdog
  36       4/9/2021   Transcript, Bannon’s War Room
  37       5/3/2021   Transcript, Bannon’s War Room
  38       5/8/2021   Transcript, Bannon’s War Room
                      Grace Dean, Here’s What Happened at Mike Lindell’s Cyber Symposium,
                      from Him Storming Offstage to Bolsonaro’s Son Giving Him a MAGA Hat
  39      8/15/2021   Signed by Trump, Business Insider
                      Joseph Marks, The Cybersecurity 202: My Pillow Cyber Symposium Is Yet
  40      8/11/2021   Another Font of Election Fraud Lies, Wash. Post
                      Beth Warden, Cyber Expert Claims Mike Lindell Does Not Have Election
  41      8/11/2021   Data, Eligible for $5 Million Award, Dakota News Now
                      Zachary Petrizzo, Mike Lindell Offers $5 Million to Cyber Experts,
  42      7/22/2021   Reporters Who Can Disprove His Semi-Mythical Data , Salon
                      Brett Bachman, Mike Lindell Lashes Out as Cyber Expert Demands $5M
  43      8/18/2021   Reward for Debunking Election Data , Salon




                                                2
